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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                                          No. 21-cr-399 (RDM)
                   Plaintiff,
v.

ROMAN STERLINGOV

                   Defendant.


NOTICE OF SUPPLEMENTAL AUTHORITY RELATED TO DEFENDANT’S MOTION
                TO DISMISS BASED ON VENUE (DKT. 46)
           Defendant Roman Sterlingov respectfully files this Notice of Supplemental Authority

regarding the Ninth Circuit’s recent decision in United States v. Fortenberry, No. 22-50144 (9th

Cir. Dec. 26, 2023), a copy of which is attached as Ex. A. In Fortenberry, the Ninth Circuit Court

of Appeals held that the District Court incorrectly denied Mr. Fortenberry’s motion to dismiss the

case because venue was improper in the Central District of California. The panel reversed

Fortenberry’s conviction without prejudice to retrial in a proper venue, holding unconstitutional

the effects-based test for venue.

           The Ninth Circuit issued this decision for publication, holding that the “effects-based test

for venue for a Section 1001 offense has no support in the Constitution, the text of the statute, or

historical practice.”1 The Ninth Circuit rejected the Government’s position that the effects of

statements made in Washington D.C. and Nebraska were sufficient to support constitutional

venue in the Central District of California, noting the critical nature of the Venue and Vicinage

Clauses of the Constitution.




1
    United States v. Fortenberry, No. 22-50144 at 4 (9th Cir. Dec. 26, 2023) (attached as Ex. A).
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            In its analysis, the Ninth Circuit emphasized that “the inquiry that determines venue …

turns on the action by the defendant that is essential to the offense, and where that specific action

took place”.2

            The Ninth Circuit underscored that “[t]he Venue and Vicinage Clauses may not be

disregarded simply because it suits the convenience of federal prosecutors,” and held that the

“location of investigators in the Central District, or the presence there of witnesses to the

campaign contribution events, do not speak to the locus delecti of Fortenberry’s Section 1001

offenses.”3

            Fortenberry’s trial took place in a venue where no charged crime was committed, and

before a jury drawn from the vicinage of the federal agencies that investigated the defendant. The

Government brought the case in the improper venue where the investigation was headquartered,

not where the locus delecti was.




2
    Id. p. 10.
3
    Id. p. 15.
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Dated: December 28, 2023
Brooklyn, New York



                                 Respectfully submitted,


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                                 Counsel for Defendant Roman Sterlingov
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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 28th day of December 2023, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                         s/ Tor Ekeland


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